                         Case: 23-392, 03/14/2023, DktEntry: 2.1, Page 1 of 2
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000                                 FILED
Molly C. Dwyer
Clerk of Court                                                                         MAR 14 2023
                                                                                    MOLLY C. DWYER, CLERK
                                                                                     U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           23-392
       Originating Case Number: 1:22-cr-00093-SPW-1
       Case Title:              United States of America v. Stone

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals
      docket number shown above has been assigned to this case. You must indicate this
      Court of Appeals docket number whenever you communicate with this court regarding
      this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an
      order, or have placed an order, for portions of the trial transcripts. The court reporter
      will need this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
                         Case: 23-392, 03/14/2023, DktEntry: 2.1, Page 2 of 2
                 Case 1:22-cr-00093-SPW Document 47 Filed 03/14/23 Page 2 of 2
                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000
Molly C. Dwyer
Clerk of Court



                                    TIME SCHEDULE ORDER


        Docket Number:           23-392
        Originating Case Number: 1:22-cr-00093-SPW-1
        Case Title:              United States of America v. Stone



        Monday, April 3, 2023
        United States of America                            Appeal Transcript Order Due

        Wednesday, May 3, 2023
        United States of America                            Appeal Transcript Due

        Monday, June 12, 2023
        United States of America                            Appeal Opening Brief Due

        Wednesday, July 12, 2023
        Chad Leroy Stone                                    Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
       hearings, the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
